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                       UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
vs.                                           )         No. 3:11-cr-00012-22
                                              )         Judge Kevin Sharp
ALTO PARNELL                                  )


        MOTION TO EXTEND THE DEADLINE FOR FILING POST-TRIAL
      MOTION FOR JUDGMENT OF ACQUITTAL NOTWITHSTANDING THE
                           VERDICT AND
                      MOTION FOR NEW TRIAL

        COMES NOW Defendant Alto Parnell, by and through his undersigned

 counsel, and respectfully requests that this Honorable Court extend the deadline for

 filing a Motion for Judgment of Acquittal Notwithstanding the Verdict and also a

 Motion for New Trial until and including September 23, 2013.           In support hereof,

 Defendant Parnell states as follows:

        1.   On August 23, 2013, the jury returned verdicts in this case following a 3 week

 jury trial. Defendant Parnell intends to file a Motion for Judgment of Acquittal

 Notwithstanding the Verdict and also a Motion for New Trial. Pursuant to Rules 29 and

 33 of the Federal Rules of Criminal Procedure, these Motions are due to be filed

 September 6, 2013.

        2.     Undersigned counsel is a sole practitioner, and since the verdict, has been

 somewhat overwhelmed by the demands of other aspects of his practice.

        3.    Undersigned counsel believes that extending the filing deadline until and

 including September 23, 2013 will provide sufficient time, and therefore, requests that the



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